        Case 8:02-cr-00178-PJM                      Document 133           Filed 06/09/15             Page 1 of 11



                                IN THE UNITED STATES DISTRICT  COURT
                                    FOR THE DISTRICT OF MARYLAND



ALEXANDER               MARTIN          JR., pro se           *
                                                              *
                       Petitioner                             *                Crim. No.         P.JM 02-178
                                                              *                Civil. No.        PJM 14-472
v.                                                            *
                                                              *
UNITED         STATES        OF AMERICA                       *
                                                              *
                       Respondent                             *


                                                MEMORANDUM             OPINION

            Alexander      Martin, Jr., proceeding      pro se, has filed a Motion to Vacate Conviction                 under

28 V.S.c.        9 2255.       ECI'     No.     119. Having   considered       the Motion      and     the Government's

Opposition,      although      the Court is prepared      to find all the claims Martin raises to be meritless,             it

will DEFER         final ruling on the Motion           and allow Martin sixty (60) days to show cause why

equitable     tolling might apply to his claim of ineffective            assistance      of counsel    based on counsel's

purported      failure to follow Martin's         request to tile an appeal.

                                                              1.

            On April 16, 2003, Martin pleaded             guilty to one count of kidnapping             in violation    of 18

V.S.C   9 120 I and one count of using a firearm during the commission                        of a crime of violence        in

violation     of 18 V.S.C           9 924(c).    On May 29, 2003, the Court sentenced                 him to 290 months

incarceration      on Count I and seven-years            consecutive     incarceration      on Count II. Judgment         was

entered on June 2, 2003.

            Martin's      opportunity     to tile a direct appeal      expired    fourteen    days following         entry of

judgment,       Fed. R. Appr. P. 4(b)(l)(A)(i),         but he did not do so. He submitted             the present     9 2255
         Case 8:02-cr-00178-PJM                   Document 133                  Filed 06/09/15             Page 2 of 11



motion to vacate on February           18, 2014. ECF No. 119. The Government                         filed a response       to the

motion, to which Martin did not reply.

         Construing      his    9 2255 motion        liberally,       Martin    argues     (I) that the Supreme           Court's

decisions     in Descamps v. United Slales, 133 S. Ct. 2276 (2013), Alleyne v. Uniled Slales, 133 S.

Ct. 2151 (2013), and Blakely v. Uniled Slales, 542 U.S. 296 (2004) recognized                                  new rights that

entitle him to be resentenced;        and (2) that his Sixth Amendment                   rights were violated by reason of

inefTective assistance     of counsel, entitling him to be resentenced.                   In particular,    Martin argues that

he was prejudiced       by his counsel's        failure to file a direct appeal on Blakely grounds,                 that he was

left to enter his plea unknowingly             or involuntarily,       and that counsel       failed to file a direct appeal

even though Martin requested          that he do so. The Court addresses                 each argument        in turn.

                                                              II.

         Thc Anti-Terrorism         and Effective        Death        Penalty    Act of 1996 (AEDPA)               amended      28

U.S.c.      9 2255, established     a one-year      statute of limitations         for filing post-conviction            claims in

federal court. Specifically,       petitions    filed under       9 2255 must be filed within one year of the latest

of the following      events:

            (I) the date on which the conviction becomes final;
            (2) the date on which an impediment created by government action in violation of the
                Constitution or laws of the United States is removed;
            (3) the date on which the right was recognized         by the Supreme Court and made
                retroactively applicable; or
            (4) the date on which the facts that support the claim presented could have been
                discovered through the exercise of diligence.

See 28 U.S.C.       9 2255(1). There are, however,            exceptions        to the time bar, as well as grounds            for

tolling the statute of limitations.        In order to qualify for an exception,               a defendant      must show that

he has pursued        his claim diligently         and that an extraordinary              circumstance       or circumstances




                                                                  2
         Case 8:02-cr-00178-PJM         Document 133      Filed 06/09/15     Page 3 of 11



prevented him from tiling it on time. See United Slales v. Sosa, 364 F.3d 507, 512 (4th Cir.

2004).

         Martin's conviction became final on June 16, 2003, when the opportunity to appeal this

Court's judgment expired. Again, Martin did not file this Motion to Vacate until February 18,

2014. He has not alleged any impediment created by the Government that impeded him from

filing his motion in timely fashion.

         Accordingly, Martin's ~ 2255 motion will be deemed untimely if it was not filed within a

year of September 2, 2003, or within one year from the date on which the right he asserts was

recognized by the Supreme Court and made retroactively applicable, or within one year of the

date when the facts that support the claim presented could have been discovered through the

exercise of diligence.

                                                A.

         Martin cites Descamps as one of the eases in which he maintains that the Supreme Court

recognized a right that entitles him to a vacated sentence. See ECI' No. 119, at I. Descamps was

decided by the Supreme Court on June 20, 2013. Since Martin filed his ~ 2255 motion on

February 14,2014, it was filed within the required one-year.

         In Descamps, the trial judge had applied a modified categorical approach to determine

that the defendant's     three prior convictions triggered an enhanced sentence under the Armed

Career Criminal Act (ACCA), 18 U.S.c. ~ 924(e). See 133 S. Ct. at 2283. The Supreme Court

reversed, holding that the modified categorical approach does not apply to criminal statutes that

contain a single indivisible set of elements. Id. at 2302. Although Martin does not explain

precisely why Descamps entitles him to be resentenced, he is presumably arguing that this Court




                                                 3
          Case 8:02-cr-00178-PJM        Document 133         Filed 06/09/15       Page 4 of 11



mistakenly applied a modified categorical        approach to his two pnor controlled        substance

offenses and thereby mis-designated him as a career offender for sentcncing purposes.

          However, ~ 2255 does not authorize a court's consideration and correction of every

alleged sentencing error. Rather, the statute provides four avenues by which a petitioner can seek

relief:

          A prisoner in custody under sentence of a court established by Act of Congress
          claiming the right to be released upon the ground [1] that the sentence was
          imposed in violation of the Constitution or laws of the United States, or [2] that
          the court was without jurisdiction to impose such sentence, or [3] that the
          sentence was in excess of the maximum authorized by law, or [4] is otherwise
          subject to collateral attack, may move the court which imposed the sentence to
          vacate, set aside or correct the sentence.

28 U.S.c. ~ 2255(a). The Supreme Court has interpreted this provision to mean that if the alleged

sentencing error is neither constitutional     nor jurisdictional    in nature, a district court lacks

authority to review it unless it amounts to a fundamental defect which inherently results in a

complete miscarriage of justice. See United States v. Foote, 2015 WL 1883538, at *4 (4th Cir.

Apr. 27, 2015) (citing Davis v. United States, 417 U.S. 333, 346 (1974))

          In contrast to the defendant in Descamps, Martin was not sentenced pursuant to the

Armed Career Criminal Act; instead, like the defendant in Foote, Martin was found to be a

career offender under 28 U.S.C. ~ 994(h) and USSG 4B 1.1. Accordingly, Martin's Descamps

challenge is neither constitutional, statutory, nor jurisdictional   in nature; rather, he simply avers

that the Court made a guidelines calculation error by applying a modified categorical approach to

his prior controlled substance offenses, thercby mis-designating him as a career offender. But,

even assuming that the Court applied a modified categorical approach to Martin's two prior

controlled substance offenses, and even assuming that in doing so Martin was erroneously found

to be a career offender under the Sentencing Guidelines, the Fourth Circuit has held that



                                                   4
       Case 8:02-cr-00178-PJM          Document 133         Filed 06/09/15     Page 5 of 11



sentencing a defendant pursuant to advisory Guidelines based on career offender status that is

later invalidated does not meet the high bar of a "fundamental defect which inherently results in
                                                                          1
a complete miscarriage of justice:' See Foote, 2015 WL 1883538, at *4. Accordingly, the Court

need not delve into the details of how Martin's career offender status was determined, because

the Court lacks the authority to review the question altogether.

       Further, "[tJhe Supreme Court has not ...      indicated that Descamps applies retroactively

to cases on collateral appeal, and this court is not aware of any circuit court opinion so holding."

See Randolph v. United States, 2013 WL 5960881, at *1 (D. Md. Nov. 6,2013).            Accordingly,

even if Descamps were relevant to Martin's case, it does not apply retroactively to a collateral

appeal such as the present one.

                                                 B.

        Martin cites Alleyne v. United Swtes as a second case in which the Supreme Court

recognized a right that he maintains entitles him to a vacated sentence. See ECF No. 119, at 1.

Alleyne was decided on June 17,2013. Martin therefore tiled his S 2255 motion within one year

of the decision in Alleyne.

        In Alleyne,   the sentencing   judge   had handed     down a seven-year      sentence   after

determining that defendant "brandished" a tirearm during the commission of a crime of violence.



I Martin, unlike Foote, was originally sentenced before the Sentencing Guidelines became
advisory rather than mandatory. See United Stales v. Booker, 543 U.S. 220 (2005). However,
Martin was re-sentenced by the Court post-Booker under the Advisory Guidelines. In both the
original sentence and re-sentencing, the Court imposed a sentence lower than the statutory
maximum for Count I. which was life imprisonment. In both the original sentencing and re-
sentencing, the Court noted that the sentence was within an advisory guideline range greater than
24 months, and that the speeitic sentence was imposed because ofMartin's outrageous crimes
while he was on PCP. As the Fourth Circuit observed in Foote, while the career offender
designation may have affected the ultimate sentence imposed, it did not affect the lawfulness of
the sentence itself-then or now. See 2015WL 1883538, at * 12 (citing United Slales v.
Addonizio, 442 U.S. 178, 187 (1979)).
                                                  5
       Case 8:02-cr-00178-PJM           Document 133        Filed 06/09/15       Page 6 of 11



The seven-year sentence reflected the mandatory minimum sentence for cases in which a firearm

had been brandished; the mandatory minimum, absent brandishing, was otherwise five years.

The jury was not asked to find whether or not the defendant had brandished a firearm beyond a

reasonable doubt. See 133 S. Ct. at 2163. The Supreme Court reversed and remanded, holding

that any fact that is an element of a crime-including     facts that increase the statutory minimum

penalty-cannot    be made by a judge at the sentencing phase, and must be either agreed upon by

defendant or found to be true by the jury. Id. at 2162.

       In the present case, Martin contests the application of the criminal sexual abuse offense

guidelines specified by U.S.S.G. 2A3.I(a) and (b), the application of which resulted in a base

offense level for him 01'27, plus a four level increase to the base offense level.

       The Court first notes that the conviction on Count L kidnapping in violation of 18 U.S.c.

S 120 I, for which Martin received the supposedly infirm sexual assault enhancement, did not
carry a statutory minimum sentence. This fact renders Alleyne's          relevance to Martin's case

doubtful, because Alleyne concerned facts that increased the statutory minimum. But even

assuming that Alleyne were relevant, there is another, more fundamental distinction: unlike the

defendant in Alleyne and unlike Martin's own codefendant, Martin did not take his case to trial

and leave factfinding to the jury. Rather, he pleaded guilty and stipulated to a statement of facts.

In that statement of facts, Martin admitted that he and a codefendant had robbed two men and a

woman at gunpoint, then forced the woman into a vehicle, removed her clothing, fondled her,

demanded that she perform sexual acts, struck her in the face, and shot her multiple times after

she was able to escape from the vehicle. Martin further agreed and stipulated to sentencing

guideline   factors, including a base offense level of 27 pursuant          to the Criminal   Sexual

Abuse/Attempt    Criminal Sexual Abuse Guideline,         S 2A3.1, and a four-level enhancement


                                                   6
       Case 8:02-cr-00178-PJM           Document 133        Filed 06/09/15      Page 7 of 11



because the kidnapping was committed by means set forth in 18 U.S.C. S 224l(a) (i.e., sexual

abuse committed by force or threat). Because Martin indisputably agreed to facts that fonned the

basis of the sexual assault enhancements, Alleyne ultimately has no bearing on Martin's case.

       Moreover. while the Supreme Court has not yet indicated whether Alleyne applies

retroactively to cases on collateral review, the l'ourth Circuit has held that the case has not been

made retroactively available to cases on collateral review. Uniled Slates v. Siewarl, 540 F. App'x

171 (4th Cir. 2013) (unpublished); see also Baldwin v. Uniled Siales, 2013 WL 6183020 (D. Md.

Nov. 25, 2013). For this reason, this Court finds that Alleyne did not declare a new rule of law.

                                                 C.

       Although Martin does not expressly say so, the heart of his claim for relief seems to

derive from Blakely v. Washington. In Blakely, the defendant had pleaded guilty to kidnapping

his estranged wife. See 542 U.S. at 298. The facts to which the defendant admitted supported a

maximum sentence of 53 months. See id. However, that court found that petitioner had also acted

with deliberate   cruelty,   which allowed the court to depart upward           from the statutorily

enumerated guideline, as a result of which the judge imposed a 90-month sentence. See hi. On

review, the Supreme Court held that, "[b Jecause the facts supporting petitioner's exceptional

sentcnce were neilher admit/ed by pelitioner nor found by a jury, the sentence violated his Sixth

Amendment right to trial by jury." lei. at 306 (emphasis added). Here, Martin argues that he was

sentenced under a sexual assault enhancement that raised his offense level and sentence, but

since he was never indicted for sexual assault nor found to have committed sexual assault by a

jury, his conviction and sentence should be vacated. See ECF No. 119, at 2.

        The argument cuts no ice.




                                                   7
       Case 8:02-cr-00178-PJM            Document 133          Filed 06/09/15     Page 8 of 11



        Martin's claims under Blakely fail for the same reasons as his claims under Alleyne: in

stark contrast to the defendant in Blakely, Martin clearly agreed to facts that formed the basis of

the sexual assault enhancements he received at sentencing.

        In any event, even if Martin had a cognizable claim under Blakely, such claim would be

untimely. Blakely was decided by the U.S. Supreme Court on June 24, 2004, so that under

AEDPA, Martin missed his deadline to make a Blakely claim by over nine years. Martin argues

that he never filed a S 2255 petition (presumably) regarding Blakely because he was "without

knowledge of the law and [did] not know how to fill out the require[d] documentation." ECF No.

119, at 1. But the Fourth Circuit has held that "ignorance of the law is not a basis for equitable

tolling of S 2255' s statute of limitations." Sosa, 364 F.3d at 512.

                                                  III.

        Finally, Martin argues that his trial counsel was ineffective because a) counsel failed to

file a direct appeal on Blakely grounds; b) Martin entered his plea agreement unknowingly and

involuntarily, and; c) trial counsel failed to file a direct appeal when Martin requested that he do

so.

           As a procedural matter, courts will not ordinarily entertain a S 2255 motion where-as

here-the      movant did not raise his claim before trial, at trial, or on direct appeal. See United

States v. l'elliford, 612 F.3d 270, 284 (4th Cir. 2010). However, in some circumstances a court

may provide relief despite such procedural default, i.e. if the movant shows (I) a cause for his

failure to assert the claim in an earlier proceeding and (2) actual prejudice as a result of the

alleged error. See Bostick v. Stevenson, 589 FJd         160 (4th Cir. 2009). Ineffective assistance of

counsel claims are generally permitted via S 2255 motion. However, to establish cause for his

default based upon ineffective assistance of counsel, Martin must show that his attorney's



                                                   8
       Case 8:02-cr-00178-PJM             Document 133     Filed 06/09/15      Page 9 of 11



performance fell below an objective standard of reasonableness and that he suffered prejudice as

a result. United States v. Mikalajunas,    186 F.3d 490, 493 (4th Cir. 1999) (citing Strickland v.

Washington, 466 U.S. 668, 687 (1984)).

       Martin's attorney's failure to file a direct appeal on Blakely grounds did not fall below an

objective standard of reasonableness, nor did it cause prejudice to Martin. Assuming a Blakely

claim had been available to Martin during the time he could have filed a direct appeal (Blakely

itself was decided about ten months after Martin's judgment became final), such a claim would

have been meritless, because-as      discussed above-Martin        had clearly agreed to facts that

formed the basis of the sexual assault enhancements he received at sentencing.

       Similarly, Martin's argument that he was never informed of the enhancement            by his

attorney is highly doubtful. In the absence of extraordinary circumstances,      allegations in a S

2255 motion that directly contradict the petitioner's sworn statements made during a properly

conducted Rule II colloquy are almost always incredible or frivolous or false on their face. See

United States v. Lemaster, 403 F.3d 216, 221 (4th Cir. 2005). Here, as noted above, at the

sentencing hearing, the Government outlined the stipulated facts and Guideline calculations.

Martin stated in open court that he understood and accepted such facts and calculations; that he

fully understood the proceedings; that he was giving up the right to a jury trial; that he had gone

over the plea agreement with his counsel; that counsel had explained the plea agreement to him;

and that he had specifically discussed the guideline calculations with his counsel. Martin has

alleged no extraordinary circumstances that call into question the truth of these sworn statements.

Accordingly,   the Court concludes that Martin's guilty plea was knowing and voluntary, and

would not support an ineffective assistance claim on that basis.




                                                  9
       Case 8:02-cr-00178-PJM           Document 133           Filed 06/09/15        Page 10 of 11



        Still, Martin asserts that he wished to appeal his sentence and that he instructed his

counsel to do so, but counsel did not do so. See ECF No. 119, at I. An attorney may be found

ineffective    for disregarding   his client's   unequivocal    instruction     to appcal,   even though

defendant-as     here-has   waived his appeal rights. See United States v. Poindexter, 492 FJd 263

(4th Cir. 2007). In fact, pursuant to Poindexter, while Martin may have been entitled to an

evidentiary hearing to determine whether he in fact unequivocally instructed his attorney to file

an appeal, his request almost certainly appears to come too late.

        Martin's conviction became final on June 16,2003, when thc time to file a direct appeal

expired. Since he failed to bring a S 2255 petition alleging ineffective assistance of counsel

within one ycar of September 2, 2003, that claim would, at first blush, appear to be untimely

under 28 U.S.c.     S 2255(1)(1). True, Martin might try to argue that he is entitled to bring the
claim within one year of the date that facts that support the claim could have been discovered

through the exercise of diligence, and that these facts could not have been discovered by diligent

application, as provided by 28 U.S.C. S 2255(1)(4). But the unalterable fact is that more than ten

years passed from the date on which Martin's conviction became final and the date on which

Martin filed his S 2255 petition. Had Martin exercised diligence, it seems virtually certain that he

would have or should have discovered in far fewer than ten years any conceivable facts in

support of the claim-most notably, the fact that his counsel filed no direct appeal.

        Nevertheless, the Fourth Circuit has held that when the statute of limitations issue is

raised as a bar to a habeas action, either by the Government or by a court sua ~jionte, the

petitioner should at least be afforded an opportunity to respond before the case is dismissed. See

Hill v. Braxton, 277 F.3d 70 I, 706 (4th Cir. 2002) (holding that a court can sua .\jionte raise the

issue that a habeas corpus petition under        S 2254 is time-barred        but cannot then dismiss the



                                                    10
      Case 8:02-cr-00178-PJM            Document 133         Filed 06/09/15      Page 11 of 11



petition without affording the petitioner an opportunity to respond to the court's concerns);

United Siaies v. Sosa, 364 F.3d 507, 510 n. 4 (4th Cir. 2004) (applying Hill to S 2255 actions).

        Accordingly, based on the foregoing, the Court will grant Martin 60 days to address why,

ifat all, principles of equitable tolling apply, but only as to one particular claim: i.e., his claim of

ineffective assistance of counsel stemming from his attorney's          alleged failure to follow his

instruction to tile an appeal.

                                                  v.
        The Court's ruling on Martin's Motion to Correct, Vacate, or Set Aside a Sentence

Pursuant to 28 U.S.C.       S 2255, ECF No. 119, is DEFERRED              for the present. Martin is

GRANTED       60 days to address why principles of equitable tolling might apply to his claim of

ineffective assistance of counsel stemming from his attorney's          alleged failure to follow his

instruction to file an appeal. Should the Court require a response from the Government, the Court

will set such timeline by further Order of Court.

        A separate Order will ISSUE.



                                                                  /s/
                                                          ETER J. MESSITTE
                                                          TATES DISTRICT JUDGE

        JuncL,20IS




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